CASE 0:18-cr-00308-PJS-KMM Doc. 16 Filed 12/27/18 Page 1 of 42
CASE 0:18-cr-00308-PJS-KMM Doc. 16 Filed 12/27/18 Page 2 of 42
CASE 0:18-cr-00308-PJS-KMM Doc. 16 Filed 12/27/18 Page 3 of 42
CASE 0:18-cr-00308-PJS-KMM Doc. 16 Filed 12/27/18 Page 4 of 42
CASE 0:18-cr-00308-PJS-KMM Doc. 16 Filed 12/27/18 Page 5 of 42
CASE 0:18-cr-00308-PJS-KMM Doc. 16 Filed 12/27/18 Page 6 of 42
CASE 0:18-cr-00308-PJS-KMM Doc. 16 Filed 12/27/18 Page 7 of 42
CASE 0:18-cr-00308-PJS-KMM Doc. 16 Filed 12/27/18 Page 8 of 42
CASE 0:18-cr-00308-PJS-KMM Doc. 16 Filed 12/27/18 Page 9 of 42
CASE 0:18-cr-00308-PJS-KMM Doc. 16 Filed 12/27/18 Page 10 of 42
CASE 0:18-cr-00308-PJS-KMM Doc. 16 Filed 12/27/18 Page 11 of 42
CASE 0:18-cr-00308-PJS-KMM Doc. 16 Filed 12/27/18 Page 12 of 42
CASE 0:18-cr-00308-PJS-KMM Doc. 16 Filed 12/27/18 Page 13 of 42
CASE 0:18-cr-00308-PJS-KMM Doc. 16 Filed 12/27/18 Page 14 of 42
CASE 0:18-cr-00308-PJS-KMM Doc. 16 Filed 12/27/18 Page 15 of 42
CASE 0:18-cr-00308-PJS-KMM Doc. 16 Filed 12/27/18 Page 16 of 42
CASE 0:18-cr-00308-PJS-KMM Doc. 16 Filed 12/27/18 Page 17 of 42
CASE 0:18-cr-00308-PJS-KMM Doc. 16 Filed 12/27/18 Page 18 of 42
CASE 0:18-cr-00308-PJS-KMM Doc. 16 Filed 12/27/18 Page 19 of 42
CASE 0:18-cr-00308-PJS-KMM Doc. 16 Filed 12/27/18 Page 20 of 42
CASE 0:18-cr-00308-PJS-KMM Doc. 16 Filed 12/27/18 Page 21 of 42
CASE 0:18-cr-00308-PJS-KMM Doc. 16 Filed 12/27/18 Page 22 of 42
CASE 0:18-cr-00308-PJS-KMM Doc. 16 Filed 12/27/18 Page 23 of 42
CASE 0:18-cr-00308-PJS-KMM Doc. 16 Filed 12/27/18 Page 24 of 42
CASE 0:18-cr-00308-PJS-KMM Doc. 16 Filed 12/27/18 Page 25 of 42
CASE 0:18-cr-00308-PJS-KMM Doc. 16 Filed 12/27/18 Page 26 of 42
CASE 0:18-cr-00308-PJS-KMM Doc. 16 Filed 12/27/18 Page 27 of 42
CASE 0:18-cr-00308-PJS-KMM Doc. 16 Filed 12/27/18 Page 28 of 42
CASE 0:18-cr-00308-PJS-KMM Doc. 16 Filed 12/27/18 Page 29 of 42
CASE 0:18-cr-00308-PJS-KMM Doc. 16 Filed 12/27/18 Page 30 of 42
CASE 0:18-cr-00308-PJS-KMM Doc. 16 Filed 12/27/18 Page 31 of 42
CASE 0:18-cr-00308-PJS-KMM Doc. 16 Filed 12/27/18 Page 32 of 42
CASE 0:18-cr-00308-PJS-KMM Doc. 16 Filed 12/27/18 Page 33 of 42
CASE 0:18-cr-00308-PJS-KMM Doc. 16 Filed 12/27/18 Page 34 of 42
CASE 0:18-cr-00308-PJS-KMM Doc. 16 Filed 12/27/18 Page 35 of 42
CASE 0:18-cr-00308-PJS-KMM Doc. 16 Filed 12/27/18 Page 36 of 42
CASE 0:18-cr-00308-PJS-KMM Doc. 16 Filed 12/27/18 Page 37 of 42
CASE 0:18-cr-00308-PJS-KMM Doc. 16 Filed 12/27/18 Page 38 of 42
CASE 0:18-cr-00308-PJS-KMM Doc. 16 Filed 12/27/18 Page 39 of 42
CASE 0:18-cr-00308-PJS-KMM Doc. 16 Filed 12/27/18 Page 40 of 42
CASE 0:18-cr-00308-PJS-KMM Doc. 16 Filed 12/27/18 Page 41 of 42
CASE 0:18-cr-00308-PJS-KMM Doc. 16 Filed 12/27/18 Page 42 of 42
